USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 1 of 22




                                                      2:22-cv-203
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 2 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 3 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 4 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 5 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 6 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 7 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 8 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 9 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 10 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 11 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 12 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 13 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 14 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 15 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 16 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 17 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 18 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 19 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 20 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 21 of 22
USDC IN/ND case 2:22-cv-00203-PPS-JEM document 1 filed 07/21/22 page 22 of 22
